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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                               )
 JAMAR ROWLEY                                  )
                                               )              Civil Action No. 17-5062
     Plaintiff,                                )
                                               )
     v.                                        )
                                               )
 TRANS UNION, LLC                              )
 and                                           )
 COLONIAL FINANCIAL SERVICES                   )
 INC. d/b/a HALLMARK                           )
 REMODELERS                                    )
                                               )
          Defendants.                          )

                                  JOINT RULE 26(f) REPORT

A.        NATURE OF THE CASE

          Plaintiff’s Statement of Facts

     Plaintiff brings this action for damages against Defendant Trans Union, LLC (“Trans Union”),

a national credit reporting agency, alleging violations of the Fair Credit Reporting Act (“FCRA”)

for its failure to assure the maximum possible accuracy of the Plaintiff’s consumer credit files.

Moreover, Trans Union impermissibly allowed Colonial Financial Services Inc., d/b/a Hallmark

Remodelers to access Plaintiff’s credit report. Further, Plaintiff disputed the inaccurate information

to Trans Union and Trans Union continued to report that information on Plaintiff’s credit file.

          Specifically, Trans Union allowed an impermissible pull of Plaintiff’s report (section b

violation); refused to remove the inquiry despite written notification from both the consumer and

directly from the creditor that the pull was in error and done without a permissible purpose (section

i violation), and then sold a knowingly inaccurate report after willfully refusing to correct the

inaccuracy (section eb violation). Trans Union willfully and egregiously ignored a letter

directly from a creditor telling them that the inquiry was in error.
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          On September 4, 2017 Trans Union was notified in writing by the consumer that the pull

from Hallmark was not authorized and provided written proof from the creditor (Hallmark) that

“a credit report on 4/11/2017 was taken in error”. Trans Union responded on September 25, 2017

stating that it would not remove the inquiry despite the dispute and letter.


          On November 29, 2017, the creditor, Hallmark, went so far as to directly contact Trans

Union to inform them that “we have taken the credit report in error on 4/11/2017. We would like

to have the inquiry removed.” Yet to date, Trans Union still has not removed the inquiry.


          As a result of Trans Union’s inaccurate reporting, Plaintiff has experienced damage to his

credit reputation and suffered emotional distress. Plaintiff seeks statutory, actual and punitive

damages, as well as his costs of the action together with reasonable attorney’s fees once he is

successful in establishing liability.


          Plaintiff was so upset by the damage this did to his otherwise perfect credit score that he

contacted Hallmark and secured a letter, filed a complaint with the BBB, and sought legal

assistance.


          Defendant Trans Union, LLC’s (“Trans Union”) Statement of Facts

          Plaintiff falsely claims consumer reporting agency Trans Union wrongly allowed Colonial

Financial Services to access his credit file though inquiry. However, Plaintiff admits that Colonial

notified Trans Union that it had a permissible purpose when it accessed Plaintiff’s credit file and,

thus, Plaintiff’s claims fail as the FCRA provides that Trans Union is entitled to rely on such

notice.




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       Moreover, while Plaintiff also claims Trans Union failed to properly investigate the

disputed inquiry, Plaintiff admits that inquiry was actually made. Thus, Trans Union’s reporting

is accurate and accuracy is a complete defense to Plaintiff’s claims.


       Trans Union also is not liable because Plaintiff lacks the proper standing to bring his claims

because he has no injury in fact. The Supreme Court in Spokeo held that the injury-in-fact

requirement for standing must be “concrete and particularized.” However, Spokeo holds a “bare

violation,   divorced   from    any    concrete       harm,” does not   satisfy   the   injury-in-fact

requirement. Plaintiff has no evidence that any Colonial inquiry caused him any emotional distress

or was the required “substantial factor” in any of his claimed damages and, therefore, Plaintiff has

no standing to bring these claims.


B.     SETTLEMENT DISCUSSION

       The parties are engaging in informal settlement discussion at this time in an attempt to

resolve this matter in its early stages. To the extent informal settlement discussions are

unsuccessful, Plaintiff and Defendant Trans Union propose a settlement conference before the

magistrate judge, approximately one month prior to the close of discovery.


C.     INITIAL DISCLOSURES

       The parties will exchange the information required by Fed. R. Civ. P. 26(a)(1) prior to the

Rule 16 conference.


D.     DISCOVERY PLAN

       Discovery is needed as to both liability and damages. Discovery on these subjects should

 be conducted concurrently. The parties do not anticipate any discovery problems at this time and

 do not foresee any problems arising from the disclosure of electronically stored information.

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 The parties anticipate that a stipulated protective order may be necessary to ensure that

 proprietary information as provided in discovery is protected and only used for purposes

 germane to this action. The parties acknowledge that any such order may be amended by the

 Court in the interest of justice. The parties agree to follow the Federal Rule of Civil Procedures

 limitations on discovery.


        It is anticipated that the following discovery will be necessary prior to the filing of

 dispositive motions and/or the scheduling of trial: the exchange of written discovery and

 responses thereto, the depositions of the parties and/or party representatives and possible third

 party document production and depositions regarding both liability and damages.


        The parties propose the following discovery schedule:

     1. All discovery to be completed by August 17, 2018;

     2. Affirmative expert reports, if any, due by August 17, 2018;

     3. Rebuttal expert reports, if any, due by September 7, 2018;

     4. Expert witness depositions, if any, completed by September 28, 2018;

     5. Dispositive Motions due by October 26, 2018; and

     6. Case ready for trial by January 2019.

E.      OTHER MATTERS

        The parties, through their undersigned counsel, agree that pursuant to Rule 5(b)(2)(E) and

6(d) of the Federal Rules of Civil Procedure, any pleadings may be served by sending such

documents by email to the primary and secondary email addresses of all counsel of record (or any

updated email address provided to all counsel of record) through the Court’s ECF system. Trans

Union requests service of discovery be made through regular mail, as provided by the Federal

Rules of Civil Procedure. Courtesy copies can be provided via email.


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   Electronically Stored Information: The parties do not anticipate any issues pertaining to

electronically stored data in this case. The parties have agreed to produce any electronically stored

information in hard copy form as an initial matter. Once the parties have had the opportunity to

review such documents, the parties agree, if necessary to confer amongst themselves regarding

any additional exchange or production that either party believes necessary.

       SETTLEMENT

       The parties agree that a Settlement Conference with a Magistrate Judge may be helpful in

 this matter after a period of discovery.




Respectfully Submitted,

  FRANCIS & MAILMAN, P.C.                               SCHUCKIT & ASSOCIATES, P.C.

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  Dated: February 21, 2018




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